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                                                                               2020 Apr-14 AM 11:56
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

SHIRLEY M. JOHNSON, TENEA                    )
R. STODDARD and JILL K. RANES                )
                                             )
      Plaintiffs,                            )
                                             )
v.                                           ) CASE 5:17-cv-2150-LCB
                                             )
AIRBUS DEFENSE & SPACE, INC.                 )
                                             )
      Defendant.                             )

                             NOTICE OF APPEAL

      Notice is hereby given, Plaintiffs in the above-styled case, hereby appeal to

the United States Court of Appeals for the Eleventh Circuit from the Order of the

United States District Court for the Northern District of Alabama, Northeastern

Division, entered by Judge Liles C. Burke on the 6th day of April, 2020 granting

Defendant’s Motion for Summary Judgment (Doc 25).

      Respectfully submitted this the 14th day of April, 2020.

                                      s/ Teri Ryder Mastando
                                      Teri Ryder Mastando (ASB-4507-E53T)
                                      Eric J. Artrip (ASB-9673-I68E)
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this the 14th day of April, 2020, I electronically filed
the foregoing with the Clerk of the Court and I have caused a copy of same to be
served upon the following by electronic service, by facsimile or by placing a copy
of same in the United States mail, postage prepaid and properly addressed.

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                                        s/ Teri Ryder Mastando
                                        Teri Ryder Mastando




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